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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,

                               Plaintiff,                         17-CR-477 (PAE)

        v.                                                             ORDER

 JASON NISSEN,

                               Defendant.


       PLEASE TAKE NOTICE that, upon the annexed declaration of Alan E. Schoenfeld, and

subject to the approval of the Court, Alan E. Schoenfeld hereby withdraws as counsel of record

for Petitioners Entrepreneur Growth Capital LLC and Credit Cash NJ, LLC in the above-

captioned matter. The law firm of Sullivan & Cromwell LLP, counsel from which have noticed

their appearance, will continue to represent the Petitioners in these proceedings.

       Respectfully submitted on this 18 day of November, 2020.

                                                       /s/ Alan Schoenfeld
                                                       Alan E. Schoenfeld
                                                       WILMER CUTLER PICKERING
                                                          HALE AND DORR LLP
                                                       7 World Trade Center
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                                                       New York, NY 10007
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                                                       Facsimile: (212) 230-8888
                                                       alan.schoenfeld@wilmerhale.com

SO ORDERED:                                            Outgoing Counsel for Petitioners
                       11/19/2020                      Entrepreneur Growth Capital LLC and
                                                       Credit Cash NJ, LLC
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Hon. Paul A. Engelmayer




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